Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 1 of 11 PageID #: 13115
                            *FILED UNDER SEAL*




                         Exhibit 2
        Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 2 of 11 PageID #: 13116




From:                                   SALEM, Sara <Sara.Salem@freshfields.com>
Sent:                                   Friday, April 26, 2024 8:02 PM
To:                                     Geraldine W. Young; GARRETT, Tyler; dpearl@axinn.com; Audrey Moore;
                                        jhunsberger@axinn.com; SESSIONS, Justina (JKS); Bradley Justus; Paul Yetter; Bracewell,
                                        Mollie; MAHR, Eric (EJM); MCCALLUM, Robert; ELMER, Julie (JSE); Daniel Bitton; Ali
                                        Vissichelli; Bryce Callahan; EWALT, Andrew (AJE); VACA, Lauren
Cc:                                     Zeke DeRose III; Jonathan.Wilkerson; Alex J. Brown; Marc B. Collier; John McBride; Peter
                                        M. Hillegas; Trevor.Young; Noah Heinz; Zina Bash; Joseph M. Graham Jr.; Ashley Keller;
                                        Brooke Smith; jdugan@dugan-lawfirm.com; Isabela Pena-Gonzalez; NRFAdTech; James
                                        R. Hall; Melonie DeRose; LARITZ, Tina; BOSCO, Veronica
Subject:                                RE: State of Texas v Google - Deposition Notices


Counsel –

                 is available for a deposition on the noticed date, Friday May 3, 2024 at 9am ET either remotely or in
person in Atlanta, Georgia. Please let us know whether Plaintiffs intend to proceed remotely or in person.

                is available for a deposition on the noticed date, Friday May 3, 2024 at 9am ET either remotely or in
person in New York. Please let us know whether Plaintiffs intend to proceed remotely or in person.

As noted in our April 22, 2024 letter, Google’s counsel does not represent                    and we cannot accept
service of a deposition notice or subpoena. Ms.          ’s last known address is 520 8th St, Brooklyn, NY 11215.

Best,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: SALEM, Sara
Sent: Thursday, April 25, 2024 9:32 PM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>;
dpearl@axinn.com; Audrey Moore <Audrey.Moore@LanierLawFirm.com>; jhunsberger@axinn.com; SESSIONS, Justina
(JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; Daniel Bitton <dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce
Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
<Lauren.VACA@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; NRFAdTech
<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; LARITZ, Tina <Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices
                                                                  1
     Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 3 of 11 PageID #: 13117


Counsel –

                 will be available for a deposition next Thursday, May 2 at 10am PT either remotely or in person in Los
Angeles, California. Please let us know whether Plaintiffs intend to proceed remotely or in person.

Thanks,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: SALEM, Sara
Sent: Thursday, April 25, 2024 2:12 PM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>;
dpearl@axinn.com; Audrey Moore <Audrey.Moore@LanierLawFirm.com>; jhunsberger@axinn.com; SESSIONS, Justina
(JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; Daniel Bitton <dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce
Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
<Lauren.VACA@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; NRFAdTech
<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; LARITZ, Tina <Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Yes, Mr.        ’s May 2 start time should be 9am ET (not PT) and we understand that Plaintiffs and the court
reporter/videographer will be remote. Thank you for confirming.

Sara Salem
Senior Associate
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From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Thursday, April 25, 2024 1:46 PM
To: SALEM, Sara <Sara.Salem@freshfields.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>; dpearl@axinn.com;
Audrey Moore <Audrey.Moore@LanierLawFirm.com>; jhunsberger@axinn.com; SESSIONS, Justina (JKS)
<Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>;
Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM,
Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Daniel Bitton
<dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>;
EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren <Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;

                                                            2
        Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 4 of 11 PageID #: 13118
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; NRFAdTech
<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; LARITZ, Tina <Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Thank you for confirming, we will start with Ms.            at 10 am ET (not 9 am ET).

We had a question too regarding Mr.          ’s start time on 5/2/2024 – you all had listed him as starting at 9 am
PT. Should that be 9 am ET, given he is in NY?

From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Thursday, April 25, 2024 12:10 PM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>;
dpearl@axinn.com; Audrey Moore <Audrey.Moore@LanierLawFirm.com>; jhunsberger@axinn.com; SESSIONS, Justina
(JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; Daniel Bitton <dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce
Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
<Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; NRFAdTech
<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; LARITZ, Tina <Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Hi Geraldine –

Thank you for the confirmation on Mr.        .

With respect to Ms.             , Google has completed its production of Ms.           ’s custodial documents. Ms.
          is available to start at your requested 10am ET start time (not 9am) for up to seven hours on the record.

Best,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Thursday, April 25, 2024 12:12 PM
To: GARRETT, Tyler <Tyler.Garrett@freshfields.com>; dpearl@axinn.com; SALEM, Sara <Sara.Salem@freshfields.com>;
Audrey Moore <Audrey.Moore@LanierLawFirm.com>; jhunsberger@axinn.com; SESSIONS, Justina (JKS)
<Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>;
                                                             3
     Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 5 of 11 PageID #: 13119
Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM,
Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Daniel Bitton
<dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>;
EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren <Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; NRFAdTech
<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; LARITZ, Tina <Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

We plan to proceed in person with Mr.         ’s deposition and with exhibit share, so please ensure he has access to a
laptop and wifi.

Regarding Ms.            ’s deposition scheduled for tomorrow, we have cleared our conflict and can start at her
preferred time of 9 am ET. We, however, have not received confirmation from you on the following requested
yesterday: We also request that you confirm that Google has completed its production of custodial documents and all
related metadata for Ms.             (as well as for all upcoming scheduled depositions including Mr.        ). Please also
confirm we will be able to depose Ms.              for up to 7 hours on the record. If you can send us those
confirmations, we will forward link today when we get it.

Thanks, Geraldine

From: GARRETT, Tyler <Tyler.Garrett@freshfields.com>
Sent: Thursday, April 25, 2024 10:13 AM
To: dpearl@axinn.com; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; SALEM, Sara
<Sara.Salem@freshfields.com>; Audrey Moore <Audrey.Moore@LanierLawFirm.com>; jhunsberger@axinn.com;
SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; Daniel Bitton <dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce
Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
<Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
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Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
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<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; LARITZ, Tina <Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Hi Geraldine,

Can you please confirm whether Plaintiffs intend to proceed remotely or in-person (Freshfields’ Redwood City office, 855
Main St, Redwood City, CA 94063) for              ’s deposition on May 1 beginning at 9am PT?

                                                             4
        Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 6 of 11 PageID #: 13120
Best,
Tyler

From: Pearl, David <dpearl@axinn.com>
Sent: Wednesday, April 24, 2024 8:26 PM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; SALEM, Sara <Sara.Salem@freshfields.com>;
Audrey Moore <Audrey.Moore@LanierLawFirm.com>; jhunsberger@axinn.com; SESSIONS, Justina (JKS)
<Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>;
Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM,
Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Daniel Bitton
<dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>;
EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren <Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
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<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
Pena-Gonzalez <isabela.pena-gonzalez@nortonrosefulbright.com>; NRFAdTech
<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>; LARITZ, Tina
<Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

All,

               will be available for a deposition next Wednesday, May 1, at 9 AM ET, either remotely or in
person in New York. If you would like to take his deposition in person, we will follow up with the exact location.

Thanks,

David


David Pearl
Partner




Axinn, Veltrop & Harkrider LLP
1901 L Street NW
Washington, DC 20036
Office 202.469.3514
Mobile 310.733.8444
dpearl@axinn.com
Axinn.com

55 Second Street
San Francisco, CA 94105

Pronouns | He, Him, His



                                                         5
     Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 7 of 11 PageID #: 13121

From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Wednesday, April 24, 2024 4:46 PM
To: SALEM, Sara <Sara.Salem@freshfields.com>; Audrey Moore <Audrey.Moore@LanierLawFirm.com>; Pearl, David
<dpearl@axinn.com>; Hunsberger, James K. <jhunsberger@axinn.com>; SESSIONS, Justina (JKS)
<Justina.Sessions@freshfields.com>; Justus, Bradley <bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>;
Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM,
Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Bitton, Daniel S.
<dbitton@axinn.com>; Vissichelli, Allison M. <avissichelli@axinn.com>; Bryce Callahan
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<NRFAdTech@nortonrosefulbright.com>; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>; LARITZ, Tina
<Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices


Caution: External Email

Caution: External Email



Counsel:

You have provided us less than 48 hours’ notice of Ms.           ’s deposition. We request that for any future
depositions that we be provided at least 3 days’ notice. As you know, there are still a number of 30(b)(1) and 30(b)(6)
depositions and topics that have not been scheduled.

We also request that you confirm that Google has completed its production of custodial documents and all related
metadata for Ms.           (as well as for all upcoming scheduled depositions including Mr.     ).

If that is the case, we will take Ms.          ’s deposition remotely on Friday April 26 but request a slightly later start
time at 10 am ET (which is still less than 48 hours from your email below), due to pre-existing conflicts on our
end. Please confirm that start time will work and we will be able to depose Ms.               for up to 7 hours on the
record, and we will make the arrangements and send you all the zoom link for the deposition.

Thank you,
Geraldine

From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Wednesday, April 24, 2024 11:46 AM
To: Audrey Moore <Audrey.Moore@LanierLawFirm.com>; dpearl@axinn.com; jhunsberger@axinn.com; SESSIONS,
Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
                                                              6
        Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 8 of 11 PageID #: 13122
<Julie.Elmer@freshfields.com>; Daniel Bitton <dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce
Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
<Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com >;
Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
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Trevor.Young <Trevor.Young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com; Isabela
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<geraldine.young@nortonrosefulbright.com>; NRFAdTech <NRFAdTech@nortonrosefulbright.com>; James R. Hall
<james.hall@nortonrosefulbright.com>; Melonie DeRose <Melonie.DeRose@LanierLawFirm.com>; GARRETT, Tyler
<Tyler.Garrett@freshfields.com>; LARITZ, Tina <Tina.LaRitz@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices


[External Email – Use Caution]


Counsel –

                       is available for a deposition on April 26, 2024 beginning at 9am ET remotely or at Freshfields New
York office.

Best,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: SALEM, Sara
Sent: Monday, April 22, 2024 1:31 PM
To: Audrey Moore <Audrey.Moore@LanierLawFirm.com>; dpearl@axinn.com; jhunsberger@axinn.com; SESSIONS,
Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
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Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren
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Cc: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>; Jonathan Wilkerson
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gonzalez@nortonrosefulbright.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>;
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<Melonie.DeRose@LanierLawFirm.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Counsel –

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        Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 9 of 11 PageID #: 13123

I write with an update on         ’s availability. Mr.   is available for a deposition on May 1, 2024 beginning at 9am
PT remotely or at Freshfields Redwood City office.

Best,
Sara

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From: Audrey Moore <Audrey.Moore@LanierLawFirm.com>
Sent: Wednesday, April 17, 2024 8:16 PM
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Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM,
Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Daniel Bitton
<dbitton@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>;
EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; VACA, Lauren <Lauren.Vaca@freshfields.com>
Cc: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>; Jonathan Wilkerson
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<peter.hillegas@nortonrosefulbright.com>; Trevor Young <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
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gonzalez@nortonrosefulbright.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>;
NRFAdTech@nortonrosefulbright.com; James R. Hall <james.hall@nortonrosefulbright.com>; Melonie DeRose
<Melonie.DeRose@LanierLawFirm.com>
Subject: RE: State of Texas v Google - Deposition Notices

Counsel,

The Plaintiff States hereby serve the attached Notices of Deposition for the following deponents in the State of
Texas et al. v. Google LLC case, No. 4:20-cv-00957-SDJ:

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    

 Thank you.

Audrey


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    Case 4:20-cv-00957-SDJ Document 467-2 Filed 05/06/24 Page 10 of 11 PageID #: 13124


                          Audrey Moore
                          Paralegal
                          p: 713-659-5200
                          10940 West Sam Houston Pkwy N, Suite 100
                          Houston • Texas • 77064
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Audrey Moore - Paralegal p: 713-659-5200 w: www.LanierLawFirm.com

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